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 1   KERR & WAGSTAFFE LLP
     JAMES M. WAGSTAFFE (95535)
 2   IVO LABAR (203492)
     101 Mission Street, 18th Floor
 3   San Francisco, CA 94105–1727
     Telephone: (415) 371-8500
 4   Fax: (415) 371-0500
     wagstaffe@kerrwagstaffe.com
 5   labar@kerrwagstaffe.com

 6   Local Counsel for Plaintiffs and the Class

 7   LABATON SUCHAROW LLP
     JONATHAN GARDNER (pro hac vice)
 8   SERENA P. HALLOWELL (pro hac vice)
     MICHAEL P. CANTY (pro hac vice)
 9   CHRISTINE M. FOX (pro hac vice)
     THEODORE J. HAWKINS (pro hac vice)
10   ALEC T. COQUIN (pro hac vice)
     140 Broadway
11   New York, NY 10005
     Telephone: (212) 907-0700
12   Fax: (212) 818-0477
     jgardner@labaton.com
13   shallowell@labaton.com
     mcanty@labaton.com
14   cfox@labaton.com
     thawkins@labaton.com
15   acoquin@labaton.com
16   Lead Counsel for Plaintiffs and the Class

17                              UNITED STATES DISTRICT COURT
18                           NORTHERN DISTRICT OF CALIFORNIA
19                                       SAN JOSE DIVISION
20                                                     Case No. 5:13-cv-01920-EJD (HRL)
     IN RE INTUITIVE SURGICAL
21   SECURITIES LITIGATION                             CLASS REPRESENTATIVES’ NOTICE
                                                       OF MOTION AND MOTION FOR
22                                                     FINAL APPROVAL OF CLASS
                                                       ACTION SETTLEMENT AND PLAN OF
23                                                     ALLOCATION AND MEMORANDUM
                                                       OF POINTS AND AUTHORITIES IN
24                                                     SUPPORT THEREOF
25                                                     Date: December 20, 2018
                                                       Time: 10:00 a.m.
26                                                     Dept.: Courtroom 4, 5th Floor
                                                       Judge: Hon. Edward J. Davila
27

28
     CASE NO. 5:13-CV-01920-EJD (HRL)
     MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND
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 1                                           NOTICE OF MOTION
 2   TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3             PLEASE TAKE NOTICE that on December 20, 2018, at 10:00 a.m., or as soon thereafter
 4   as they may be heard, Class Representatives the Employees’ Retirement System of the State of

 5   Hawaii (“Hawaii ERS”) and Greater Pennsylvania Carpenters’ Pension Fund (“Greater

 6   Pennsylvania”), on behalf of themselves and all members of the certified Class, will move this

 7   Court for orders, pursuant to Rule 23 of the Federal Rules of Civil Procedure: (i) granting final

 8   approval of the proposed Settlement of the Action; and (ii) approving the proposed Plan of

 9   Allocation for the net proceeds of the Settlement.

10                This motion is supported by the following memorandum of points and authorities and the
11   accompanying Declaration of Jonathan Gardner in Support of Class Representatives’ Motion for
12   Final Approval of Class Action Settlement and Plan of Allocation and Class Counsel’s Motion
13   for an Award of Attorneys’ Fees and Payment of Expenses, dated November 15, 2018 (“Gardner
14   Declaration” or “Gardner Decl.”), and the exhibits attached thereto.1
15             Proposed orders will be submitted with the Class Representatives’ reply submission on
16   December 13, 2018, after the November 29, 2018 deadline for requesting exclusion or objecting
17   has passed.
18                               STATEMENT OF ISSUES TO BE DECIDED
19           1.          Whether the Court should grant final approval to the proposed class action

20   Settlement; and

21           2.          Whether the Court should approve the proposed Plan of Allocation for

22   distributing the proceeds of the Settlement to eligible Class Members.
23

24

25       1
             The Gardner Declaration contains a detailed description of the allegations and claims, the
26   procedural history of the Action, the risks faced by the Class in pursuing litigation, the efforts
     that led to a settlement, among other matters. All exhibits referenced herein are annexed to the
27   Gardner Declaration. For clarity, citations to exhibits that themselves have attached exhibits will
     be referenced as “Ex. ___-___.” The first numerical reference is to the designation of the entire
28   exhibit attached to the Gardner Declaration and the second alphabetical reference is to the exhibit
     designation within the exhibit itself.
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2           Hawaii ERS and Greater Pennsylvania (“Plaintiffs” or “Class Representatives”) through

 3   their counsel Labaton Sucharow LLP (“Labaton Sucharow” or “Class Counsel”), respectfully

 4   submit this memorandum of points and authorities in support of their motion, pursuant to Federal

 5   Rule of Civil Procedure 23(e), requesting (i) final approval of the proposed settlement of the

 6   above-captioned class action (the “Settlement”); and (ii) approval of the proposed Plan of

 7   Allocation.2

 8                                   PRELIMINARY STATEMENT
 9           As detailed in the Stipulation, Intuitive Surgical, Inc. (“Intuitive” or the “Company”), and

10   Gary S. Guthart, Marshall L. Mohr, and Lonnie M. Smith (collectively, the “Individual

11   Defendants,” and, together with Intuitive, the “Defendants”) have agreed to deposit $42,500,000

12   in cash, to secure a settlement of the claims in the Action and all Released Claims. The terms of

13   the Settlement are set forth in the Stipulation, which was previously filed with the Court. ECF

14   No. 298-1. This recovery is a very favorable result for the Class and avoids the substantial risks

15   and expenses of continued litigation, including the risk of recovering less than the Settlement

16   Amount, or nothing at all.

17           As described below and in the accompanying Gardner Declaration, the decision to settle

18   was well-informed by more than five years of contentious and hard-fought litigation involving a

19   comprehensive investigation; two rounds of motion to dismiss briefing, including Defendants’

20   motion for reconsideration; extensive fact and expert discovery (involving the analysis of

21   approximately 550,000 pages of documents produced by Defendants and third parties, such as

22   the FDA, 18 fact depositions, six expert depositions, and 11 expert reports); certification of the

23   Class and overcoming Defendants’ petition for permission to appeal pursuant to Rule 23(f);

24   intensive summary judgment motion practice; and trial preparation. Trial was scheduled to begin

25   on October 30, 2018.

26

27       2
             All capitalized terms not otherwise defined herein have the meanings set forth in the
28   Stipulation and Agreement of Settlement, dated as of September 11, 2018 (the “Stipulation,”
     ECF No. 298-1).
     CASE NO. 5:13-CV-01920-EJD (HRL)                                                                  2
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 1          The $42.5 million recovery represents approximately 7.34% of the $580 million in

 2   maximum damages estimated by the Class Representatives’ damages expert, Chad Coffman,

 3   assuming pre-Class Period gains are netted and the Class prevailed on all claims through trial

 4   and appeals, which includes prevailing in full on Defendants’ summary judgment motion

 5   pending at the time of settlement and, particularly, their argument that Class Representatives

 6   could not establish loss causation for any of the three remaining alleged corrective disclosures.

 7   See Gardner Decl. ¶¶5, 81. If Defendants’ arguments prevailed, the Class would have recovered

 8   substantially less than the Settlement Amount, or nothing at all. Class Counsel, who has

 9   extensive experience and expertise in prosecuting securities class actions, believes that the

10   Settlement represents a very favorable resolution of this complex litigation in light of the specific

11   risks of continued litigation, particularly the challenges of establishing loss causation and

12   materiality. The Class Representatives, who were actively involved in the Action, vigorously

13   represented the Class and have approved the Settlement. See Declaration of Elmira K.L. Tsang

14   on Behalf of Hawaii ERS, dated November 2, 2018 (Ex. 1), and the Declaration of James R.

15   Klein on Behalf of Greater Pennsylvania, dated November 2, 2018 (Ex. 2).

16          Accordingly, the Class Representatives respectfully request that the Court grant final

17   approval of the Settlement. In addition, the Plan of Allocation, which was developed with the

18   assistance of the Class Representatives’ damages expert, is a fair and reasonable method for

19   distributing the Net Settlement Fund and should also be approved by the Court.

20                 PRELIMINARY APPROVAL AND THE NOTICE PROGRAM
21          On October 4, 2018, the Court entered an order preliminarily approving the Settlement

22   and approving the proposed forms and methods of providing notice to the Class (the

23   “Preliminary Approval Order”, ECF No. 304). Pursuant to and in compliance with the

24   Preliminary Approval Order, through records maintained by Intuitive’s transfer agent,

25   information gathered from the previous mailing of the notice of the pendency of the Action (the

26   “Class Notice”), and information provided by brokerage firms and other nominees, beginning on

27   October 15, 2018, the Court-appointed Claims Administrator the Garden City Group, LLC

28   (“GCG”), which was recently acquired by Epiq Class Action and Claims Solutions, Inc. and is
     CASE NO. 5:13-CV-01920-EJD (HRL)                                                                 3
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 1   now continuing operations as part of Epiq, caused, among other things, the Settlement Notice

 2   and Proof of Claim and Release form (together, the “Claim Packet”) to be mailed by first-class

 3   mail to potential Class Members. See Declaration Regarding (A) Mailing of the Settlement

 4   Notice and Proof of Claim Form; (B) Publication of Summary Notice; and (C) Requests for

 5   Exclusion in Connection with Settlement Notice, dated November 13, 2018 (“Mailing

 6   Affidavit”), Ex. 3 ¶¶3-8. A total of 233,036 Claim Packets have been mailed as of November

 7   13, 2018. Id. ¶8. On October 22, 2018, the Summary Notice was published in Investor’s

 8   Business Daily and was disseminated over the internet using PR Newswire. Id. ¶9 and Exhibits

 9   C and D attached thereto. The Settlement Notice and Proof of Claim were also posted, for

10   review and easy downloading, on the case-dedicated website established by GCG for purposes of

11   this Action, as well as Labaton Sucharow’s website. Id. ¶10.

12          The Settlement Notice described, inter alia, the claims asserted in the Action, the

13   contentions of the Parties, the course of the litigation, the terms of the Settlement, the maximum

14   amounts that would be sought in attorneys’ fees and expenses, the Plan of Allocation, the right to

15   object to the Settlement, the right to seek to be excluded from the Class, and the right to opt-back

16   into the Class (for those who previously requested exclusion in connection with the Class

17   Notice). See generally Ex. 3-B. The Settlement Notice also gave the deadlines for objecting,

18   seeking exclusion, or opting back into the Class, and advised potential Class Members of the

19   scheduled Settlement Hearing before this Court. Id.

20          Defendants also mailed notice of the Settlement pursuant to the Class Action Fairness

21   Act, 28 U.S.C. §1715. Gardner Decl. ¶108.

22          The Ninth Circuit has held that notice must be “reasonably calculated, under all the

23   circumstances, to apprise interested parties of the pendency of the action and afford them an

24   opportunity to present their objections.” Mendoza v. Tucson Sch. Dist. No. 1, 623 F.2d 1338,

25   1351 (9th Cir. 1980) (citation omitted). The Ninth Circuit has also ruled that the objection

26   deadline should fall after motions in support of approval and attorneys’ fees and expenses have

27   been filed. See, e.g., In re Mercury Interactive Corp. Sec. Litig., 618 F.3d 988 (9th Cir. 2010)

28   (requiring that fee motion be made available to the class before the deadline for objecting to the
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 1   fee). The Class Representatives respectfully submit that the notice program utilized here readily

 2   meets these standards.

 3            To date, the Class’s reaction to the proposed Settlement has been positive. While the

 4   deadline (November 29, 2018) for requesting exclusion or objecting to the Settlement has not yet

 5   passed, to date there has only been one new request for exclusion (submitted by an individual

 6   investor that bought four shares), no objections to the proposed Settlement, and no objections to

 7   the Plan of Allocation.3

 8                                               ARGUMENT
 9   I.       THE PROPOSED SETTLEMENT IS FAIR, REASONABLE, AND ADEQUATE
              UNDER THE APPLICABLE STANDARDS AND SHOULD BE APPROVED
10
              A.     The Standards for Final Approval of Class Action Settlements
11
              Strong judicial policy favors settlement of class actions. Class Plaintiffs v. City of
12
     Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992). It is well established in the Ninth Circuit that
13
     “voluntary conciliation and settlement are the preferred means of dispute resolution.” Officers
14
     for Justice v. Civil Serv. Comm’r, 688 F.2d 615, 625 (9th Cir. 1982). Indeed, “there is an
15
     overriding public interest in settling and quieting litigations,” and this is “particularly true in
16
     class action suits.” Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976). Class-
17
     action suits readily lend themselves to compromise because of the difficulties of proof, the
18
     uncertainties of the outcome, and the typical length of the litigation. Settlements of complex
19
     cases such as this one greatly contribute to the efficient utilization of scarce judicial resources
20
     and achieve the speedy resolution of claims. See, e.g., Garner v. State Farm Mut. Auto Ins. Co.,
21
     No. CV 08 1365 CW (EMC), 2010 WL 1687832, at *10 (N.D. Cal. Apr. 22, 2010) (“Settlement
22
     avoids the complexity, delay, risk and expense of continuing with the litigation and will produce
23
     a prompt, certain and substantial recovery for the Plaintiff class.”) (citation and internal
24
     quotation marks omitted).
25

26
          3
27            A full report on the requests for exclusion submitted in response to the Settlement Notice
     and responses to any objections will be provided with the Class Representatives’ reply papers on
28   December 13, 2018. The reply papers will also include information about the claims submitted
     to date.
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 1           Rule 23(e) of the Federal Rules of Civil Procedure requires judicial approval of the

 2   compromise of claims brought on a class basis. The standard for determining whether to grant

 3   final approval to a class action settlement is whether the proposed settlement is “fundamentally

 4   fair, adequate, and reasonable.” In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 458 (9th Cir.

 5   2000) (citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)); In re TracFone

 6   Unlimited Serv. Plan Litig., 112 F. Supp. 3d 993, 997 (N.D. Cal. 2015). In making this

 7   determination, courts in the Ninth Circuit consider and balance a number of factors, including:

 8           (1) the strength of the plaintiffs’ case; (2) the risk, expense, complexity, and likely
             duration of further litigation; (3) the risk of maintaining class action status throughout the
 9           trial; (4) the amount offered in settlement; (5) the extent of discovery completed and the
             stage of the proceedings; (6) the experience and views of counsel; (7) the presence of a
10           governmental participant; and (8) the reaction of the class members of the proposed
             settlement.4
11
     See Churchill Vill. L.L.C. v. Gen. Elec., 361 F.3d 566, 575-76 (9th Cir. 2004) (citing Hanlon,
12
     150 F.3d at 1026); Officers for Justice, 688 F.2d at 625 (same). Courts have also considered “the
13
     role taken by the lead plaintiff in [the settlement] process, a factor somewhat unique to the
14
     PSLRA.” In re Portal Software, Inc. Sec. Litig., No. C-03-5138 VRW, 2007 WL 4171201, at *3
15
     (N.D. Cal. Nov. 26, 2007) (internal citation omitted). Not all of these factors will apply to every
16
     class action settlement and, under certain circumstances, one factor alone may prove
17
     determinative in finding sufficient grounds for court approval. See Torrisi v. Tucson Elec.
18
     Power Co., 8 F.3d 1370, 1376 (9th Cir. 1993).
19
             The determination of whether a settlement is fair, adequate, and reasonable is committed
20
     to the Court’s sound discretion. See Mego, 213 F.3d at 458 (“Review of the district court’s
21
     decision to approve a class action settlement is extremely limited.”) (citing Linney v. Cellular
22

23
         4
24           Effective on December 1, 2018, Rule 23(e) will be amended to, among other things,
     specifically add that in considering approval of a settlement, courts should assess whether (i) the
25   class representatives and class counsel have adequately represented the class; (ii) the settlement
     was negotiated at arm’s-length; (iii) the relief is adequate given “the costs, risks, and delay of
26   trial and appeal,” the effectiveness of distributing the relief to the class, the terms of any
     proposed award of attorney’s fees, including the timing, and any agreements required to be
27   identified under Rule 23(e)(3); and (iv) the settlement treats class members equitably relative to
     each other. See amendments to Rule 23(e)(2)(A)-(D). Many of these considerations are already
28   among the factors that courts within the Ninth Circuit weigh and each are readily satisfied here,
     as discussed below and in the related submissions.
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 1   Alaska P’ship, 151 F.3d 1234, 1238 (9th Cir. 1998)). In applying the pertinent factors, the Court

 2   need not reach conclusions about the merits of the case, in part because the Court will be called

 3   upon to decide the merits if the action proceeds. See Officers for Justice, 688 F.2d at 625

 4   (“[T]he settlement or fairness hearing is not to be turned into a trial or rehearsal for trial on the

 5   merits. . . . [I]t is the very uncertainty of outcome in litigation and avoidance of wasteful and

 6   expensive litigation that induce consensual settlements.”). The Court’s discretion in assessing

 7   the fairness of the settlement is also circumscribed by “the strong judicial policy that favors

 8   settlements, particularly where complex class action litigation is concerned.” Linney, 151 F.3d at

 9   1238 (quoting Officers for Justice, 688 F.2d at 626); Class Plaintiffs, 955 F.2d at 1276 (same).

10           B.      Application of the Approval Criteria Supports
                     Final Approval of the Settlement
11
                     1.      The Class Has Been Robustly Represented by the Class
12                           Representatives and Class Counsel and the Settlement
                             Is the Result of Thorough and Arm’s-Length Efforts
13
             As is evident from the record before the Court, the Parties have vigorously and, at times,
14
     contentiously litigated this Action for five years. See generally Gardner Decl. §§III-V.
15
     Throughout the litigation, the Class had the benefit of representation by two sophisticated
16
     institutional investors, Hawaii ERS and Greater Pennsylvania, each of which dedicated
17
     substantial efforts to overseeing the prosecution of the claims. See Declaration of Elmira K.L.
18
     Tsang on Behalf of Hawaii ERS, (Ex. 1), and the Declaration of James R. Klein on Behalf of
19
     Greater Pennsylvania, (Ex. 2). As discussed below, it also had the able representation of
20
     knowledgeable counsel with extensive experience in shareholder class action litigation and
21
     securities fraud cases. Labaton Sucharow is among the most experienced and skilled firms in the
22
     securities litigation field, and has a long and successful track record in such cases. Gardner Decl.
23
     ¶140.
24
             Before and during the negotiations between counsel, the strengths and weaknesses of the
25
     Class Representatives’ and Defendants’ respective claims and defenses were fully understood
26
     and explored by the Parties. Leading up to the Settlement, Counsel engaged in frank and
27
     knowledgeable discussions. With an informed understanding, the Class Representatives agreed
28
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 1   to the Settlement. Id. ¶¶99-101. There has been no collusion and there can be no doubt that the

 2   Settlement was reached through anything other than arm’s-length efforts. Accordingly, as

 3   evidenced by the discussion below, the Settlement readily satisfies the approval criteria proposed

 4   by the Rule 23 amendments set forth in Rule 23(e)(2)(A) and (B).

 5                  2.      The Strength of the Class Representatives’ Case and
                            the Risks Associated with Continued Litigation
 6
            To determine whether the proposed Settlement is fair, reasonable, and adequate, the
 7
     Court must balance the risks of continued litigation against the benefits afforded to class
 8
     members and the certainty of a recovery. See Mego, 213 F.3d at 458. Although the Class
 9
     Representatives believe that the case against Defendants is strong, that confidence must be
10
     tempered by the fact that the Settlement is certain and that every case involves significant risk of
11
     no recovery, particularly in a complex case such as the one at bar. Here, there was no
12
     restatement, Company admission, or parallel governmental or criminal proceeding, which would
13
     have aided the Class Representatives in proving key elements of the case, like materiality, loss
14
     causation, and scienter. There is no question that to prevail here, the Class Representatives
15
     would have confronted a number of legal and factual challenges, while trying to prove difficult
16
     securities claims within the context of complex scientific and regulatory evidence and testimony.
17
     For instance, the Class Representatives would have had to argue, and the Court would need to
18
     rule on, the pending summary judgment motion, which sought judgment as a matter of law on
19
     the elements of materiality and loss causation. There was no guarantee that the claims would
20
     survive this challenge, and, even if they did, how the Court’s rulings would affect the future
21
     prosecution of the claims.
22
                            (a)     Loss Causation and Damages Challenges
23
            The principle risk in continuing the litigation is the difficulty of proving loss causation
24
     and damages, which were hotly contested by Defendants at every turn, particularly class
25
     certification and summary judgment, and would continue to be challenged in Daubert motions,
26
     at trial, in post-trial proceedings and appeals. See Gardner Decl. ¶¶73-74, 84-87. To succeed at
27
     trial “a plaintiff [must] prove that the defendant’s misrepresentation (or other fraudulent conduct)
28
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 1   proximately caused the plaintiff’s economic loss.” Dura Pharms., Inc. v. Broudo, 544 U.S. 336,

 2   346 (2005). If a jury were to find that any of the three remaining alleged corrective disclosures

 3   were not truly corrective, the potential recovery for the Class would be significantly diminished,

 4   as happened in connection with class certification where the Court rejected certain other alleged

 5   corrective disclosure dates.

 6          Principally, Defendants have argued that the “corrective” disclosures do not correct the

 7   allegedly false statements. Gardner Decl. ¶¶84-87. This was a centerpiece of Defendants’

 8   summary judgment motion. Id. ¶¶73-74. For example, Defendants argued that nothing in the

 9   February 28, 2013 Bloomberg article – announcing that the FDA was surveying surgeons at

10   several hospitals regarding da Vinci and any complications they have may have encountered –

11   corrected any alleged omissions regarding a purported defect or supposed internal recalls.

12   Defendants would also argue that the Class Representatives’ argument that news of the FDA

13   survey was a partial corrective disclosure has been rejected by the Ninth Circuit in a line of cases

14   finding that an announcement of an investigation, standing alone, is insufficient to establish loss

15   causation. Id. ¶¶73, 84.

16          Defendants would also have continued to argue that the March 5, 2013 Bloomberg

17   article, which reported on allegations from two personal injury lawsuits that had been filed

18   against Intuitive as well as other lawsuits filed against the Company, did not reveal anything new

19   to the market, because this information was all publicly available. Accordingly, the

20   accompanying stock drop cannot be evidence of loss causation. Id. ¶73, 85.

21          Regarding the July 18, 2013 Warning Letter where the Company announced, on July 18,

22   2013, that it received a Warning Letter from the FDA, Defendants would have argued that the

23   Warning Letter revealed no information that Defendants had allegedly concealed, and

24   accordingly, the Class Representatives cannot establish loss causation based on the stock price

25   movement on July 18-19, 2013. Defendants would have argued that the only “new” information

26   revealed on July 18, 2013, was the existence of a Warning Letter (the contents of which were not

27   made public until July 31, 2013). Defendants would have noted that since the July 18

28   announcement revealed only the receipt of the letter itself, which the Class Representatives do
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 1   not allege Defendants concealed, the announcement cannot qualify as a corrective disclosure,

 2   and the accompanying stock drop cannot be a basis for proving loss causation. Id. ¶¶73, 86.

 3          The elimination of even one of these alleged corrective disclosures would have

 4   considerably reduced damages, leaving the Class Representatives to seek significantly less than

 5   $580 million.

 6          Defendants would also dispute the Class Representatives’ expert’s damages

 7   methodology. Defendants would continue to challenge Mr. Coffman’s analyses, arguing, among

 8   other things, that he failed to conduct an adequate analysis to determine which of the challenged

 9   statements were material to the market and did not determine which corrective disclosures

10   corrected any particular prior statements. Id. ¶89.

11          The Class Representatives’ expert has estimated maximum aggregate damages to be

12   approximately $580 million, if the Class Representatives were to prevail on all of their claims,

13   including all three alleged corrective disclosures. Accordingly, the proposed Settlement

14   represents a recovery of approximately 7.34% of this estimate. Of course if Defendants

15   prevailed at summary judgment on their argument that there is no loss causation, then the Class

16   would recover nothing at all. Id. ¶90.

17          Resolution of these loss causation and damages issues would involve dense and complex

18   testimony of expert witnesses and the Parties would end up in a “battle of the experts” where it

19   would be impossible to predict with any certainty which arguments would find favor with a jury.

20   See, e.g., Nguyen v. Radient Pharms. Corp., No. SACV 11-00406 DOC (MLGx), 2014 WL

21   1802293, at *2 (C.D. Cal. May 6, 2014) (approving settlement in securities case where

22   “[p]roving and calculating damages required a complex analysis, requiring the jury to parse

23   divergent positions of expert witnesses in a complex area of the law” and “[t]he outcome of that

24   analysis is inherently difficult to predict and risky”) (citation omitted); In re Warner Commc’ns

25   Sec. Litig., 618 F. Supp. 735, 744, 745 (S.D.N.Y 1985) (approving settlement where “it is

26   virtually impossible to predict with any certainty which testimony would be credited, and

27   ultimately, which damages would be found to have been caused by actionable, rather than the

28   myriad nonactionable factors such as general market conditions”), aff’d, 798 F.2d 35 (2d Cir.
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 1   1986). The outcome could well have depended on whose testifying expert the jury believed or

 2   even whether the jury was able to follow the economic theories used by the experts.

 3                          (b)     Materiality Defenses
 4          The Class Representatives also faced substantial risks in proving that Defendants’

 5   statements and alleged omissions were materially misleading at the time that they were made or

 6   occurred.

 7          As Defendants had in their summary judgment motion, they would have continued to

 8   assert a “truth on the market defense,” arguing that each piece of allegedly concealed

 9   information was actually publicly available to the market. Gardner Decl. ¶88. For example,

10   Defendants would have argued that Class Representatives’ claim that Defendants failed to

11   disclose that the Company sent letters in October 2011 to all da Vinci customers regarding the

12   proper use of the Tip Cover, was immaterial because the letters were in fact widely publicized

13   before the first allegedly misleading statement was made on February 6, 2012. Additionally,

14   Defendants would have argued that a Citron Research analyst report, published on December 19,

15   2012, discussed the “gathering storm of legal liability accruing to the company” due to the

16   Company’s alleged failure to disclose the risks associated with da Vinci. Defendants would also

17   argue that another Citron Report, published on January 17, 2013, discussed pending litigation

18   against Intuitive arising from the risks associated with the robot instruments. Id; see also In re

19   Apple Comput. Sec. Litig., 886 F. 2d 1109, 1113 (9th Cir. 1989) (truth on the market defense

20   satisfied where “information was transmitted to the public with a degree of intensity and

21   credibility sufficient to effectively counter-balance any misleading impressions created by the

22   insiders’ one-sided representation”) (citation omitted); Lovallo v. Pacira Pharms., Inc., No. 14-

23   06172, 2015 WL 7300492, at *10 (D.N.J. Nov. 18, 2015) (finding truth on the market where

24   plaintiff is able to find the information “based on a single Web search” and where “information

25   was not buried”).

26          While the Class Representatives would advance a number of arguments in response,

27   including that the allegedly concealed information did not receive adequate exposure and was

28
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 1   essentially impossible for an investor to aggregate and understand, there is no certainty as to how

 2   the Court or a jury would come out on this issue. See, e.g., Id.

 3           If Defendants’ motion were successful, the Class Representatives’ case would have been

 4   severely curtailed, if not over.

 5                           (c)        Scienter Defenses
 6           Defendants cannot be liable under the Securities Exchange Act of 1934 unless they acted

 7   with scienter – i.e., knowledge of falsity, or reckless disregard for whether their statements were

 8   true or false. Here, Defendants have strongly contested that the Class Representatives would be

 9   able to prove motive or that Defendants knew or recklessly disregarded facts indicating that their

10   public statements were false when made. Gardner Decl. ¶¶92-95.

11           Regarding the alleged insider trading of each of the Individual Defendants, Defendants’

12   would likely seek to put forth expert testimony arguing, among other things, that the sales of the

13   Individual Defendants followed 10b5-1 trading plans that were entered into before any of the

14   alleged corrective disclosures and were consistent with SEC requirements and Company insider

15   trading policies. Defendants would also argue that Defendants Mohr and Guthart approved a

16   stock repurchase plan prior to the Class Period, which negates any finding of scienter because it
17   tends to show that they believed the share price would rise in the future. Id. ¶93.

18           With respect to knowledge of the allegedly concealed information, Defendants would

19   likely continue to press that the Class Representatives cannot prove that they knew facts contrary

20   to each alleged misrepresentation or omission. For instance, Defendants maintained that the July

21   2013 FDA Warning Letter was not known to them ahead of time and was not kept “secret.” Id.

22           The Class Representatives would counter with evidence showing that Defendants, among

23   other things, exchanged communications with the FDA discussing the serious problems with,

24   and injuries resulting from, the Tip Cover, as well as documents and testimony establishing that

25   all of the Individual Defendants regularly attended internal meetings and received reports

26   apprising them of the sharp rise in MDRs and adverse events, as well as the Tip Cover issues

27   affecting patients. Id. ¶94. While the Class Representatives’ would put forth evidence and

28   expert opinion to support their claims, there is no certainty about which side a jury would credit.
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 1   Indeed, the Class Representatives would have been forced to tell its story to the jury through

 2   current or former employees of the Company, who would likely be adverse to the Class.

 3          In sum, as a result of the various defenses described above and in the Gardner

 4   Declaration, it is possible that, even if the Court or a jury were to find that Defendants knowingly

 5   made materially misleading statements, in the end Class Members could recover nothing.

 6          In light of the above, the Settlement satisfies the Ninth Circuit’s first and second factors,

 7   as well as the proposed criteria set forth in amended Rule 23(e)(2)(C)(i), regarding the adequacy

 8   of the relief provided to the Class taking into account the risks of further litigation.

 9                  3.      The Complexity, Expense, and Likely Duration of Further Litigation
10          Final approval is also supported by the complexity, expense, and likely duration of

11   continued litigation. See Torrisi, 8 F.3d at 1376 (“the cost, complexity and time of fully

12   litigating the case all suggest that this settlement was fair”); see also proposed amendment to

13   Rule 23(e)(2)(C)(i) (codifying the measure of adequacy by, among other things, “the costs, risks,

14   and delay of trial and appeal”). “Generally, unless the settlement is clearly inadequate, its

15   acceptance and approval are preferable to lengthy and expensive litigation with uncertain

16   results.” In re Linkedin User Privacy Litig., 309 F.R.D. 573, 587 (N.D. Cal. 2015) (citation

17   omitted).

18          Here, at every turn, the litigation raised difficult legal and factual issues that required

19   creativity and sophisticated analysis. The complexity, expense, and duration of preparing and

20   trying the case before a jury, subsequent post-trial motion practice, and a likely appeal of the

21   Court’s rulings on class certification, summary judgment, post-trial motions, and a jury verdict

22   would be significant. Barring a settlement, there is no question that this case would be litigated

23   for years, taking a considerable amount of court time and costing millions of additional dollars,

24   with the possibility that the end result would be no better for the class, and might be worse. See

25   Destefano v. Zynga Inc., No. 12-04007-JSC, 2016 WL 537946, at *10 (N.D. Cal. Feb. 11, 2016)

26   (“continuing litigation would not only be costly – representing expenses that would take away

27   from any ultimate classwide recovery – but would also delay resolution and recovery for

28   Settlement Class Members”); cf. Glickenhaus & Co., v. Household Int’l, Inc., 787 F.3d 408 (7th
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 1   Cir. 2015) (reversing and remanding jury verdict of $2.46 billion after 13 years of litigation on

 2   loss causation grounds and error in jury instruction under Janus Capital Grp., Inc. v. First

 3   Derivative Traders, 564 U.S. 135 (2011)).

 4          Likewise, as described in greater detail in the Gardner Declaration, the Action involved

 5   difficult, hotly disputed, and expert-intensive issues related to market efficiency, loss causation,

 6   damages, insider trading, and FDA regulations. Presenting this complex evidence persuasively

 7   to a jury presented its own significant challenges, in addition to the risks created by the “battle of

 8   the experts” that would have ensued.

 9          Importantly, there was no road-map for Class Counsel to follow in this Action as neither

10   the SEC nor the Department of Justice brought any proceedings against Defendants.

11          The Settlement, therefore, provides sizeable and tangible relief to the Class now, without

12   subjecting Class Members to the risks, duration, and expense of continuing litigation. This

13   factor weighs strongly in favor of final approval of the Settlement.

14                  4.      The Risk of Maintaining Class-Action Status Through Trial
15          This Court’s certification of the Class withstood Defendants’ petition to the Ninth Circuit

16   pursuant to Fed. R. Civ. P. 23(f). However, while the Class Representatives are confident that

17   the certification of the Class would have remained intact, under Rule 23(c)(1)(C), a Court’s prior

18   grant of certification “may be altered or amended before final judgment.” Accordingly, there

19   was an ongoing risk that the Class could be decertified or modified if the litigation were to

20   continue. See In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1041 (N.D. Cal. 2008)

21   (noting that even if a class is certified, “there is no guarantee the certification would survive

22   through trial, as Defendants might have sought decertification or modification of the class”).

23   Thus, the risk of failing to maintain class certification through trial favors approval of the

24   Settlement.

25                  5.      The Amount Offered in the Settlement
26          In evaluating the fairness of a settlement, a fundamental question is how the value of the

27   settlement compares to the amount the class potentially could recover at trial, discounted for risk,

28   delay, and expense. Thus, “[i]t is well-settled law that a cash settlement amounting to only a
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 1   fraction of the potential recovery does not per se render the settlement inadequate or unfair.”

 2   Mego, 213 F.3d at 459 (citation omitted). Indeed, “[t]here is a range of reasonableness with

 3   respect to a settlement – a range which recognizes the uncertainties of law and fact in any

 4   particular case and the concomitant risks and costs necessarily inherent in taking any litigation to

 5   completion[.]” Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396 F.3d 96, 119 (2d Cir. 2005).

 6          The proposed $42.5 million Settlement is well within the range of reasonableness in light

 7   of the potential recovery at trial and the risks of continued litigation. As noted above, the Class

 8   Representatives’ damages expert has estimated that if liability were to be established with

 9   respect to all of the claims, including all three alleged corrective disclosures, the maximum

10   aggregate damages recoverable at trial would be approximately $580 million. As a percentage of

11   this maximum estimate of damages, the $42.5 million Settlement represents a recovery of

12   approximately 7.34%. Gardner Decl. ¶5. Of course this estimated recovery assumes that the

13   Class Representatives were able to establish damages based on all remaining corrective

14   disclosures, which was vigorously contested by Defendants in connection with summary

15   judgment and would be contested at trial and beyond.

16          Since the passage of the Private Securities Litigation Reform Act of 1995 (“PSLRA”),

17   courts have approved settlements that recovered a similar, or smaller, percentage of maximum

18   damages. See, e.g., McPhail v. First Command Fin. Planning, Inc., No. 05cv179-IEG- JMA,

19   2009 WL 839841, at *5 (S.D. Cal. Mar. 30, 2009) (finding a $12 million settlement recovering

20   7% of estimated damages was fair and adequate); Omnivision, 559 F. Supp. 2d at 1042

21   ($13.75 million settlement yielding 6% of potential damages after deducting fees and costs was

22   “higher than the median percentage of investor losses recovered in recent shareholder class

23   action settlements”) (citation omitted); Int’l Bd. of Elec. Workers Local 697 Pension Fund v.

24   Int’l Game Tech., Inc., No. 3:09-cv-00419-MMD-WGC, 2012 WL 5199742, at *3 (D. Nev. Oct.

25   19, 2012) (approving $12.5 million settlement recovering about 3.5% of the maximum damages

26   that plaintiffs believe could be recovered at trial and noting that the amount is within the median

27   recovery in securities class actions settled in the last few years).

28
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 1          The Settlement also presents a superior recovery when compared to the median and

 2   average settlement values in securities class action settlements in 2017, which was reported by

 3   Cornerstone Research to be $5 million and $18.2 million, respectively. See, Laarni T. Bulan,

 4   Ellen M. Ryan, and Laura E. Simmons, Securities Class Action Settlements – 2017 Review and

 5   Analysis, at 3 (Cornerstone Research 2018), Ex. 4.

 6          Accordingly, it is respectfully submitted that the Settlement is a favorable result that falls

 7   well within the range of reasonableness.

 8                  6.      The Extent of Discovery Completed and the Stage of the Proceedings
 9          The stage of the proceedings and the amount of discovery completed are also factors

10   courts consider in determining the fairness, reasonableness, and adequacy of a settlement. See

11   Mego, 213 F.3d at 459. This factor strongly weighs in favor of approval of the Settlement.

12          At the time the Parties agreed to settle, the Class Representatives and Class Counsel had

13   exhaustively litigated the Action and had a thorough and realistic understanding of the strengths

14   and weaknesses of the claims and defenses asserted. The Action has been hotly contested from

15   its inception, more than five years ago. As a result, the Class Representatives’ and Class

16   Counsel’s knowledge of the strengths and weaknesses of the claims alleged and the stage of the

17   proceedings are more than adequate to support the Settlement. This knowledge is based on,

18   among other things, Class Counsel’s wide-ranging investigation before filing the consolidated

19   complaints; the briefing and order on Defendants’ two motions to dismiss, and Defendants’

20   motion for reconsideration; Class Counsel’s extensive class, fact, and expert discovery; as well

21   as the briefing on class certification and Defendants’ Rule 23(f) petition, and the motion for

22   summary judgment. See Gardner Decl. §III-V.

23          In particular, Class Counsel conducted an extensive review of publicly available

24   information before filing the complaints, including documents filed publicly by the Company

25   with the U.S. Securities and Exchange Commission; press releases, news articles, analyst reports,

26   and other public statements concerning Intuitive’s business and the da Vinci Surgical System;

27   and other publicly available information and data concerning Intuitive, its securities, and the

28   markets therefor. Id. ¶¶15, 26.
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 1          In connection with fact discovery, Class Counsel engaged in an extremely labor intensive

 2   meet and confer process with Defendants on the scope of discovery, and ultimately obtained and

 3   analyzed approximately 550,000 pages of documents from Defendants and non-parties, such as

 4   medical professors who promoted the da Vinci System and manufacturers of the da Vinci Tip

 5   Cover, and took or defended 18 fact depositions (including each of the Individual Defendants

 6   and four Class Representative depositions). Id. §IV.A-E. Class Counsel also reviewed the

 7   patent application for the redesigned Tip Cover filed with the U.S. Patent and Trademark

 8   Office’s, which Defendants raised in connection with their class certification “truth-on-the-

 9   market” defense. Id. ¶34.

10          In connection with expert discovery, Class Counsel worked extensively with experts on

11   issues related to loss causation and damages, insider trading, and FDA regulatory practices and

12   procedures for medical devices, and these experts issued 11 opening or rebuttal reports

13   (including three reports submitted in connection with class certification). Class Counsel also

14   challenged Defendants’ three experts during their depositions and through rebuttal reports. In

15   total, Class Counsel took or defended six expert depositions. Id. §IV.F.

16          In sum, the Class Representatives had a full understanding of the likelihood of success

17   and the potential recovery at trial at the time the Settlement was entered into. See Portal

18   Software, 2007 WL 4171201, at *4 (“The settlement reflects three and a half years of completed

19   work including pre-filing investigation, locating and interviewing over twenty-one witnesses, . . .

20   and plaintiff’s analysis of defendants’ motion for summary judgment. . . . As a result, the true

21   value of the class’s claims [were] well-known.”); Eisen v. Porsche Cars N. Am., Inc., No. 2:11-

22   cv-09405-CAS-FFMx, 2014 WL 439006, at *4 (C.D. Cal. Jan. 30, 2014) (approving settlement

23   when record established that “all counsel had ample information and opportunity to assess the

24   strengths and weaknesses of their claims and defenses”). This factor strongly supports final

25   approval of the Settlement.

26                  7.      The Experience and Views of Counsel
27          Experienced counsel, negotiating at arm’s-length, have weighed the factors discussed

28   above and endorse the Settlement. As the Ninth Circuit observed in Rodriguez v. West
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 1   Publishing Corporation, “[t]his circuit has long deferred to the private consensual decision of the

 2   parties” and their counsel in settling an action. 563 F.3d 948, 965 (9th Cir. 2009). The views of

 3   the attorneys actively conducting the litigation and who are most closely acquainted with the

 4   facts of the underlying litigation, are entitled to “great weight.” Nat’l Rural Telecomm. Coop. v.

 5   DirectTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004) ; see also Zynga, 2016 WL 537946, at *13

 6   (“A district court is entitled to give consideration to the opinion of competent counsel that the

 7   settlement is fair, reasonable, and adequate.”) (internal quotation omitted).

 8          Class Counsel firmly believes that the Settlement is fair, adequate, and reasonable, and

 9   particularly so in view of the risks, burdens, and expense of continued litigation. Further, it is

10   respectfully submitted that Class Counsel is experienced and able in this area of practice (see

11   Gardner Decl. ¶140 and Ex. 5-D) and “[t]here is nothing to counter the presumption that Lead

12   Counsel’s recommendation is reasonable.” Omnivision, 559 F. Supp. 2d at 1043. Accordingly,

13   this factor strongly favors approval of the Settlement.

14                  8.      The Presence of a Governmental Participant
15          With respect to the seventh factor, there was no governmental proceeding that assisted

16   with the investigation or prosecution of the Action – no “roadmap” to be followed, or criminal

17   convictions that have aided the Class Representatives in proving elements of the case, like loss

18   causation, materiality, and scienter. Accordingly, this factor supports approval of the Settlement.

19                  9.      Reaction of the Class to Date
20          As discussed above, pursuant to this Court’s Preliminary Approval Order, the Court-

21   approved Settlement Notice and Claim Form were mailed to potential Class Members who were

22   (i) identified in connection with the Class Notice or (ii) identified through continued outreach to

23   banks, brokers, and other nominees. See Ex. 3 ¶¶4-6. The Summary Notice was published in

24   Investor’s Business Daily on October 22, 2018 and transmitted over the internet using

25   PRNewswire on October 22, 2018. Id. ¶9. Additionally, the Stipulation, Settlement Notice,

26   Claim Form, and Preliminary Approval Order, among other documents, were posted to the

27   website dedicated to the Action (id. ¶10), as well as Labaton Sucharow’s website.

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 1           When measuring the adequacy of notice in a class action under either the Due Process

 2   Clause or the Federal Rules, the Court should look to its reasonableness. See, e.g., Silber v.

 3   Mabon, 18 F.3d 1449, 1454 (9th Cir. 1994) (“We therefore conclude that the appropriate

 4   question remains . . . ‘what notice is reasonably certain to inform the absent members of the

 5   plaintiff class,’ and the appropriate standard is the ‘best notice practicable’ under Eisen and

 6   Mullane”) (internal citation omitted). Here, the method of dissemination of the Notices to

 7   potential Class Members followed the industry gold-standard in securities cases and satisfies

 8   these standards. See, e.g., In re Immune Response Sec. Litig., 497 F. Supp. 2d 1166, 1170 (S.D.

 9   Cal. 2007) (approving notice where it was mailed directly to class members and summary notice

10   was published).

11           The Settlement Notice advised the Class of the terms of the Settlement, the Plan of

12   Allocation, and the maximum amount of Class Counsel’s request for an award of attorneys’ fees

13   and expenses, as well as the procedure and deadline for filing objections, opting out of the Class,

14   and opting back in. See generally Ex. 3-B. The Settlement Notice also stated that the motions in

15   support of approval of the Settlement and the request for attorneys’ fees and expenses would be

16   filed with the Court no later than November 15, 2018, and be available to the public through the

17   website, Class Counsel’s website, request to the Claims Administrator, the Clerk’s Office, or

18   PACER. Ex. 3-B at Question 20.

19           To date, 233,036 Claim Packets have been mailed to potential Class Members and

20   nominees. Ex. 3 ¶8. While the objection/exclusion deadline – November 29, 2018 – has not yet

21   passed, to date, no objections and only one new exclusion request, by an individual investor

22   representing four shares, has been received.5 Id. ¶14.

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             In connection with the previously issued Class Notice, the Claims Administrator received
26   six valid and timely exclusion requests. See ECF No. 285, Mailing Decl. ¶2. No institutional
     investor or pension fund requested exclusion and the requests relate to only 190 shares of
27   Intuitive stock. Investors who requested exclusion in connection with the Class Notice were not
     required to request exclusion in response to the Settlement Notice. A full report on the
28   additional exclusion requests will be submitted with the Class Representatives’ December 13,
     2018 reply papers.
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 1   II.    THE PLAN OF ALLOCATION OF THE NET SETTLEMENT FUND FOR
            DISTRIBUTING RELIEF TO THE CLASS IS FAIR, ADEQUATE, AND
 2          REASONABLE AND SHOULD BE APPROVED
 3          The standard for approval of a plan of allocation in a class action under Rule 23 of the

 4   Federal Rules of Civil Procedure is the same as the standard applicable to the settlement as a

 5   whole – the plan must be fair, reasonable, and adequate. Class Plaintiffs, 955 F.2d at 1284;

 6   Omnivision, 559 F. Supp. 2d at 1045. An allocation formula need only have a reasonable basis,

 7   particularly if recommended by experienced class counsel. In re Heritage Bond Litig., No. 02-

 8   ML-1475, 2005 WL 1594403, at *11 (C.D. Cal. June 10, 2005).

 9          Here, the Class Representatives’ damages expert, Chad Coffman, prepared the Plan of

10   Allocation after careful consideration of the Class Representatives’ theories of liability and

11   damages under the Exchange Act. Gardner Decl. ¶112. The Plan of Allocation was fully

12   described in the Settlement Notice and, to date, there has been no objection to the proposed plan.

13   See Ex. 3-B at 9-12.

14          “[A] plan of allocation . . . fairly treats class members by awarding a pro rata share to

15   every Authorized Claimant, even as it sensibly makes interclass distinctions based upon, inter

16   alia, the relative strengths and weaknesses of class members’ individual claims and the timing of

17   purchases of the securities at issue.” Redwen v. Sino Clean Energy, Inc., No. 11-3936, 2013 U.S.

18   Dist. LEXIS 100275, at *29 (C.D. Cal. July 9, 2013) (citation and internal quotation marks

19   omitted). Here, the Plan of Allocation provides for distribution of the Net Settlement Fund

20   among Authorized Claimants on a pro rata basis based on “Recognized Loss” formulas tied to

21   liability and damages. These formulas consider the amount of alleged artificial inflation in the

22   prices of Intuitive publicly traded common stock, as quantified by Mr. Coffman. See Gardner

23   Decl. ¶113. Mr. Coffman analyzed the movement in the prices of Intuitive stock and took into

24   account the portion of the price drops allegedly attributable to the alleged fraud. Id. Claimants

25   will be eligible for a payment based on when they purchased, held, or sold their Intuitive stock,

26   which is consistent with the Exchange Act. Id. ¶114. The claims of all claimants, including the

27   Class Representatives, will be determined on a pro rata basis based on the Plan of Allocation.

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 1          The Claims Administrator will calculate claimants’ Recognized Losses using the

 2   transactional information provided by claimants in their Claim Forms. Because the vast majority

 3   of securities are held in “street name” by the brokers that buy them on behalf of clients, the

 4   Claims Administrator, Class Counsel, and Defendants do not independently have class members’

 5   transactional data. Claims can be submitted in paper format, electronically through the case

 6   website, or for large investors with thousands of transactions through email to GCG’s electronic

 7   filing team. Id.

 8          Once the Claims Administrator has processed all submitted claims and provided

 9   claimants with an opportunity to cure deficiencies or challenge rejection determinations,

10   payment distributions will be made to eligible Authorized Claimants using checks and, in some

11   instances, wire transfers. After an initial distribution of the Net Settlement Fund, if there is any

12   balance remaining in the Net Settlement Fund (whether by reason of tax refunds, uncashed

13   checks or otherwise) after at least six (6) months from the date of initial distribution, Class

14   Counsel will, if feasible and economical, re-distribute the balance among Authorized Claimants

15   who have cashed their checks. Re-distributions will be repeated until the balance in the Net

16   Settlement Fund is no longer economically feasible to distribute to Authorized Claimants. Any

17   balance that still remains in the Net Settlement Fund after re-distribution(s), which is not feasible

18   or economical to reallocate, after payment of any outstanding Notice and Administration

19   Expenses or Taxes, will be donated in equal amounts to Bay Area Legal Aid and Consumer

20   Federation of America, as directed by the Court at the preliminary approval hearing. See Ex. 3-B

21   at 11; Gardner Decl. ¶115.

22          Accordingly, for all of the reasons set forth herein and in the Gardner Declaration, it is

23   respectfully submitted that the Plan of Allocation is fair, reasonable and adequate and should be

24   approved, and that the Settlement satisfies the proposed approval criteria set forth in Rule

25   23(e)(2)(C)(ii).

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 1                                            CONCLUSION
 2          For all the foregoing reasons, the Class Representatives respectfully request that the

 3   Court: (i) grant final approval of the Settlement; and (ii) approve the Plan of Allocation as fair,

 4   reasonable, and adequate.

 5   Dated: November 15, 2018                      Respectfully submitted,
 6
                                                   s/ Jonathan Gardner
 7                                                 LABATON SUCHAROW LLP
                                                   Jonathan Gardner (pro hac vice)
 8                                                 Serena P. Hallowell (pro hac vice)
                                                   Michael P. Canty (pro hac vice)
 9                                                 Christine M. Fox (pro hac vice)
                                                   Theodore J. Hawkins (pro hac vice)
10                                                 Alec T. Coquin (pro hac vice)
                                                   140 Broadway
11
                                                   New York, NY 10005
12                                                 Telephone: (212) 907-0700
                                                   Facsimile: (212) 818-0477
13
                                                   Lead Counsel for Plaintiffs and the Class
14
                                                   KERR & WAGSTAFFE LLP
15                                                 JAMES M. WAGSTAFFE (95535)
                                                   IVO LABAR (203492)
16                                                 101 Mission Street, 18th Floor
                                                   San Francisco, CA 94105–1727
17                                                 Telephone: (415) 371-8500
                                                   Fax: (415) 371-0500
18                                                 wagstaffe@kerrwagstaffe.com
                                                   labar@kerrwagstaffe.com
19
                                                   Local Counsel for Plaintiffs and the Class
20

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 1                                    CERTIFICATE OF SERVICE
 2          I hereby certify that on November 15, 2018, I authorized the electronic filing of the

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

 4   such filing to the e-mail addresses denoted on the attached Electronic Mail Notice List, and I

 5   hereby certify that I have mailed the foregoing document or paper via the United States Postal

 6   Service to the non-CM/ECF participants indicated on the attached Service List.

 7          I certify under penalty of perjury under the laws of the United States of America that the

 8   foregoing is true and correct.

 9          Executed on November 15, 2018

10                                                        /s/ Jonathan Gardner
                                                          JONATHAN GARDNER
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     CASE NO. 5:13-CV-01920-EJD (HRL)
     CERTIFICATE OF SERVICE
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 1   Electronic Mail Notice List
 2   Eric J. Belfi
     ebelfi@labaton.com,kgutierrez@labaton.com,ElectronicCaseFiling@labaton.com,4076904420@
 3   filings.docketbird.com
 4
     Mary K. Blasy
 5   mblasy@rgrdlaw.com,e_file_sd@rgrdlaw.com

 6
     Michael P. Canty
 7   mcanty@labaton.com,kgutierrez@labaton.com,7677707420@filings.docketbird.com,fmalonzo
     @labaton.com,acarpio@labaton.com,electroniccasefiling@labaton.com
 8
     Michael D. Celio
 9
     MCelio@gibsondunn.com,EOldiges@gibsondunn.com
10
     Susannah Ruth Conn
11   SConn@rgrdlaw.com,tdevries@rgrdlaw.com,e_file_sd@rgrdlaw.com,3022905420@filings.dock
     etbird.com
12

13   Alec T Coquin
     acoquin@labaton.com,kgutierrez@labaton.com,7391740420@filings.docketbird.com,electronic
14   casefiling@labaton.com

15   Jennifer Rae Crutchfield
     jcrutchfield@cpmlegal.com,mkeilo@cpmlegal.com,jacosta@cpmlegal.com
16

17   Alexander Barnes Dryer
     adryer@keker.com,dawncurran3389@ecf.pacerpro.com,dcurran@keker.com,efiling@keker.com
18   ,alexander-dryer-2761@ecf.pacerpro.com

19   Christine M. Fox
     cfox@labaton.com,kgutierrez@labaton.com,electroniccasefilings@labaton.com,fmalonzo@labat
20   on.com,6312349420@filings.docketbird.com
21
     Jonathan Gardner
22   jgardner@labaton.com,kgutierrez@labaton.com,jjohnson@labaton.com,cvillegas@labaton.com,
     cfox@labaton.com,tdubbs@labaton.com,4027988420@filings.docketbird.com,ryamada@labato
23   n.com,cboria@labaton.com,thawkins@labaton.com,acoquin@labaton.com,fmalonzo@labaton.c
     om,acarpio@labaton.com,agreenbaum@labaton.com
24

25   Michael M. Goldberg
     michael@goldberglawpc.com
26
     Jo W. Golub
27   jgolub@keker.com,sandy-giminez-
     6735@ecf.pacerpro.com,SHarmison@keker.com,efiling@keker.com,jah@keker.com,jo-golub-
28
     8129@ecf.pacerpro.com
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 1   Serena Hallowell
     shallowell@labaton.com,2853304420@filings.docketbird.com,kgutierrez@labaton.com,acoquin
 2   @labaton.com,fmalonzo@labaton.com,acarpio@labaton.com,electroniccasefiling@labaton.com
 3
     Cecily Gwyn Harris
 4   cecily.harris@keker.com

 5   Theodore J. Hawkins
     thawkins@labaton.com
 6
     John Watkins Keker
 7
     jwk@kvn.com,efiling@kvn.com,noelle-nichols-
 8   8018@ecf.pacerpro.com,nnichols@keker.com,john-keker-0604@ecf.pacerpro.com

 9   Ivo Michael Labar
     labar@kerrwagstaffe.com,smoot@kerrwagstaffe.com,phan@kerrwagstaffe.com
10

11   Arthur Charles Leahy
     artl@rgrdlaw.com,e_file_sd@rgrdlaw.com
12
     Jeremy A Lieberman
13   jalieberman@pomlaw.com,disaacson@pomlaw.com,abarbosa@pomlaw.com,lpvega@pomlaw.c
     om
14   Laurie Carr Mims
15   lmims@keker.com,smccabe@keker.com,susan-mccabe-
     8631@ecf.pacerpro.com,efiling@keker.com,laurie-mims-6204@ecf.pacerpro.com
16
     Reid Patrick Mullen
17   rmullen@keker.com,patty-lemos-9042@ecf.pacerpro.com,reid-mullen-
     2561@ecf.pacerpro.com,tsherman@keker.com,plemos@keker.com,efiling@keker.com
18

19   Danielle Suzanne Myers
     dmyers@rgrdlaw.com,3045517420@filings.docketbird.com,e_file_sd@rgrdlaw.com,sconn@rgr
20   dlaw.com

21   Laurence J Pino
     ljp@pinonicholsonlaw.com
22

23   Laurence James Pino
     ljp@pinonicholsonlaw.com
24
     Ekaterini Maria Polychronopoulos
25   kpolychronopoulos@seyfarth.com,sstitt@seyfarth.com
26
     Elizabeth Rosenberg
27   ewierzbowski@labaton.com

28
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 1   Philip James Tassin
     ptassin@keker.com,sandy-giminez-6735@ecf.pacerpro.com,sharmison@keker.com,philip-
 2   tassin-6713@ecf.pacerpro.com,efiling@keker.com
 3
     Carol C. Villegas
 4   cvillegas@labaton.com,kgutierrez@labaton.com,5739893420@filings.docketbird.com,jchristie
     @labaton.com,acoquin@labaton.com,fmalonzo@labaton.com,acarpio@labaton.com,electronicc
 5   asefiling@labaton.com
 6   James Matthew Wagstaffe
     wagstaffe@kerrwagstaffe.com,reboredo@kerrwagstaffe.com,bechtol@kerrwagstaffe.com
 7

 8   Shawn A. Williams
     shawnw@rgrdlaw.com,kmccarty@rgrdlaw.com,e_file_sd@rgrdlaw.com
 9
     Nicole M. Zeiss
10   nzeiss@labaton.com,5854006420@filings.docketbird.com,kgutierrez@labaton.com,ElectronicC
11   aseFiling@labaton.com,cboria@labaton.com

12
     Manual Notice List
13   The following is the list of attorneys who are not on the list to receive e-mail notices for this case
     (who therefore require manual noticing). You may wish to use your mouse to select and copy
14   this list into your word processing program in order to create notices or labels for these
15   recipients.

16   • (No manual recipients)

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